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 1                                                                   The Honorable John C. Coughenour
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 6
 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
10
       UNITED STATES OF AMERICA,                                NO. CR18-307 JCC
11                                                                  CR15-353 JCC
                               Plaintiff,
12
                                                                GOVERNMENT’S SENTENCING
13                                                              MEMORANDUM & SUPERVISED
                          v.
                                                                RELEASE DISPOSITION
14
       RAQWON SLADE,                                            MEMORANDUM
15
                               Defendant.
16
17
            Comes now the United States of America, by and through Brian T. Moran, United
18
     States Attorney for the Western District of Washington, and Stephen Hobbs, Assistant
19
     United States Attorney for said District, and files this Government’s Sentencing
20
     Memorandum (CR18-307 JCC) and Supervised Release Disposition Memorandum
21
     (CR15-353 JCC).
22
                                            I.     INTRODUCTION
23
            Raqwon Slade has pled guilty to one count of being a Felon in Possession of a
24
     Firearm. The United States respectfully requests that the Court impose a sentence of 30
25
     months imprisonment under CR18-307 JCC, to be served concurrently to 24 months on
26
     multiple violations of supervised release under CR15-353 JCC. The government also
27
28
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 1 requests that the Court impose (3) years of supervised release under CR18-307 JCC and
 2 terminate supervision under CR15-353 JCC.
 3                             II.      PROCEDURAL BACKGROUND
 4             Slade is on federal supervision for being a Felon in Possession of a Firearm. He
 5 was originally sentenced to 24 months, which was reduced to 16 months (time served)
 6 after a post-Johnson remand.
 7             Slade had multiple pending violations of supervised release, with a disposition
 8 hearing scheduled for December 11, 2018.
 9             On December 7, 2018, the Probation Officer learned that Slade had been arrested
10 on December 1, 2018, for possession of a firearm. The Probation Office submitted a
11 petition for three new violations of supervised release and obtained an arrest warrant.
12             On December 11, 2018, Slade appeared before Judge Pechman for the violation
13 hearing and was arrested on the outstanding warrant. An initial appearance hearing was
14 held on the new violations. Slade was detained on the warrant.
15             On December 13, 2018, the grand jury returned an indictment charging Slade with
16 one count of Felon in Possession of a Firearm.
17             Slade filed a motion to suppress. After briefing and an evidentiary hearing, the
18 Court denied the motion in a written ruling. Dkt. 42.
19             On June 3, 2019, Slade pled guilty to one count of being a Felon in Possession of
20 a Firearm. The Plea Agreement contained an appeal waiver. Dkt. 47.
21                                   III.   FACTUAL BACKGROUND1
22             On December 2, 2018, King County Sherriff’s Office (KCPO) Sergeant Sigel was
23 working alone in a marked patrol car. Sgt. Sigel has been with the KCPO for 30 years,
24 almost all of that time working as a patrol officer or sergeant.
25
26   1
         This summary of the facts is identical to that presented in the Government’s Response to
27 Slade’s Motion to Suppress. Dkt. 22. The government has not included the exhibits filed in
     support of this factual statement, which were also admitted at the evidentiary hearing.
28
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 1             At approximately 2:58 AM, Sgt. Sigel drove past a hardware store located at 1400
 2 SE Petrovitsky Road in Renton.2 The hardware store is part of a larger complex that
 3 includes other business. Behind the hardware store are a Safeway and a tavern, both of
 4 which have separate parking lots. Across the parking lot from the hardware store is a
 5 McDonald’s, which was closed (both the store and the drive-thru).
 6             Sgt. Sigel observed a lone black male, later identified as Raqwon Slade, loitering
 7 in front of the store. Slade kept disappearing from his view between the front door and
 8 the propane tank storage containers. At the time, Sgt. Sigel believed the store had been
 9 the subject of a recent burglary. Sgt. Sigel could not tell what exactly Slade was doing
10 and watched him for about three to five minutes. He then saw Slade urinating against a
11 pillar and decided to contact Slade.
12             Slade did not attempt to leave the area until he saw Sgt. Sigel approach. Sgt. Sigel
13 got out of his patrol vehicle and asked Slade to come over to his vehicle. He repeated this
14 request three times. When it appeared that Slade was thinking about running, the sergeant
15 stepped in front of Slade’s path, which forced Slade to move toward the patrol car. As the
16 pair moved toward the patrol car, Sgt. Sigel asked Slade if he had any identification.
17 Slade started reaching toward his right side, with his right hand concealed from the
18 sergeant’s view. Sgt. Sigel told Slade to keep both hands where he could see them.
19             Slade displayed both hands briefly and then again reached toward his waistband
20 with his right hand. At this point, Sgt. Sigel drew his firearm, holding it in a low ready
21 position, and told Slade to show both of his hands. Slade put both of his hands on the
22 patrol vehicle, but then again reached for the right front side of his waistband.
23             Sgt. Sigel told Slade three more times to put his hands on the car where they
24 would be in view, but Slade refused to do so. Sgt. Sigel then grabbed the back of Slade’s
25 sweatshirt and pushed him against the patrol car. Slade again reached toward his right
26
27   2
       In his report, Sgt. Sigel calls the store both an ACE hardware store and True Value hardware
     store.
28
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 1 waistband. At this point, Sgt. Sigel put his firearm against the back of Slade’s head and
 2 told Slade to show his hands. Sgt. Sigel repeated this request three times before Slade put
 3 his hands on the patrol car. At no time was Sgt. Sigel “screaming” at Slade.
 4             Sgt. Sigel then patted down the front right side of his waistband and recovered a
 5 loaded Glock handgun (10 rounds in the magazine, one round in the chamber). Slade was
 6 placed in handcuffs. Computer checks revealed that the firearm had previously been
 7 reported stolen and that Slade had prior felony convictions.3 Slade was placed under
 8 arrest. Another deputy arrived at the scene and the firearm was turned over to her. Further
 9 examination of the area revealed fresh urine on the pillar of the hardware store.
10             The Computer Aided Dispatch (CAD) report shows that approximately two
11 minutes and 30 seconds elapsed between the time at which Sgt. Sigel informed dispatch
12 he had seen Slade and when Slade had been handcuffed.
13             After Slade was placed in the patrol car, Sgt. Sigel had to continuously wake him
14 up as he kept trying to lay down to sleep. In his report, Sgt. Sigel checked a box
15 indicating that he believed alcohol was involved in the incident.
16                                    IV.     STATUTORY PENALTIES
17             Felon in Possession of a Firearm: Imprisonment for up to ten (10) years, a fine of
18 up to two hundred and fifty thousand dollars ($250,000), a period of supervision
19 following release from prison of up to three (3) years, and a special assessment of one
20 hundred dollars ($100).
21                    V.      THE SENTENCING GUIDELINES CALCULATION
22             The United States agrees with the USPO’s determination that Slade’s total offense
23 level (after acceptance of responsibility) is 13. PSR ¶¶ 15-23. The government agrees
24 that Slade has 8 criminal history points, which places him in Criminal History Category
25
26   3
    Unknown to Sgt. Sigel was the fact that in addition to his state felony convictions, Slade had
27 previously been convicted of Felon in Possession of a Firearm in the Western District of
   Washington, under cause number CR15-353-JCC, and was serving a 30-month term of
28 supervised release.
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 1 IV. PSR ¶ 24-28. Consequently, the government agrees that Slade’s Sentencing
 2 Guideline Range is 24 to 30 months. PSR ¶ 57.
 3                        VI.     KINDS OF SENTENCES AVAILABLE
 4         Because the guideline range falls within Zone D of the Sentencing Table, the
 5 minimum term must be satisfied by a term of imprisonment, pursuant to USSG §
 6 5C1.1(f).
 7         VII.    THE UNITED STATES SENTENCING RECOMMENDATION
 8         For the reasons set forth in the accompanying motion, the United States
 9 respectfully requests the Court sentence Slade to 30 months imprisonment, to be served
10 concurrently to 24 months on multiple violations of supervised release. The United
11 States also asks this Court to order three (3) years of supervised release and impose the
12 proposed conditions set forth in the presentence report.
13 A.      Nature and Circumstances of the Offense.
14         The circumstances surrounding this charge are concerning. Slade has twice been
15 convicted of unlawfully possessing a firearm, once in state court and again in federal
16 court. PSR¶ 25 & 26. Nevertheless, Slade was once again in possession of a semi-
17 automatic handgun. Slade’s actions demonstrate that he has not been deterred from
18 possessing a firearm by his prior convictions.
19 B.      History and Characteristics of the Defendant
20         In the context of the present case, Slade’s prior state convictions for Assault in the
21 Second Degree with a Deadly Weapon and Unlawful Possession of a Firearm in the
22 Second Degree are particularly relevant. PSR ¶ 24. In that incident, Slade shot another
23 individual:
24         According to Court records, on April 14, 2012, Cleden Jimerson and Mr.
           Slade argued with the victim, Christopher Mathews, who they initially
25
           encountered on a bus. The argument led to Mr. Jimerson and Mr. Mathews
26         physically fighting behind a Safeway grocery store in Kent, Washington.
           During the fight, Mr. Slade pulled a gun out and shot at Mr. Mathews. Mr.
27
           Slade was known by the victim as “Rayg.” Based on witnesses’ accounts
28
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 1          and Mr. Mathews’ interview, Mr. Slade was identified and arrested at his
            residence.
 2
 3 PSR ¶ 25. Slade was sentenced to 24 months for this crime.
 4          The firearm Slade possessed during his prior federal conviction was found on
 5 Slade by medics as Slade was being treated for a seizure. Slade’s girlfriend told police
 6 that the firearm belonged to her and that she had purchased it 18 months previously.
 7 According to the PSR:
 8          The firearm possessed by the defendant was run through the National
            Integrated Ballistic Information Network (NIBIN). By a comparison to
 9          spent shell casings found at other crime scenes, the firearm was connected
10          to five separate shooting incidents between November 23, 2014, and
            August 5, 2015. Two of the incidents involved property damage, and three
11          of the incidents involved assaults.
12
     PSR ¶ 24. Slade was originally sentenced to 24 months for this crime, which was
13
     reduced to 16 months (time served) after a post-Johnson remand.
14
            According to the PSR, there does not appear to be a history of neglect or abuse in
15
     Slade’s upbringing, although Slade’s father left the family when Slade was 13 years old.
16
     PSR ¶¶ 32-35.
17
            Slade acknowledges long-time involvement in gang activity and the Deuce 8 gang.
18
     As a probable consequence of this lifestyle, Slade has been shot. PSR ¶ 36-38. In the
19
     mental health evaluation submitted by the defense after his first federal conviction, Slade
20
     acknowledged having several friends who had been shot and killed.
21
            As a result of being shot, Slade suffers from seizures. PSR ¶ 444.
22
            Slade has essentially no history of employment. PSR ¶¶ 60. He quit a job at
23
     McDonalds in 2019 after working there for five months. PSR¶ 52.
24
            Slade admits a lengthy history of substance abuse, including the use of alcohol,
25
     Marijuana, ecstasy, and codeine cough syrup. Slade completed a 40 hour drug class
26
     while previously in BOP custody. PSR ¶ 47-50.
27
28
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 1         Slade reports a history of depression and was receiving mental health counseling
 2 while on supervised release. PSR ¶¶ 45-46.
 3         Slade did not complete high school but has obtained a GED. PSR ¶¶ 51.
 4 C.      Supervised Release Violations.
 5         Slade was on federal supervision when the underlying incident occurred. At that
 6 time, the following three violations were pending:
 7
 8
 9
10
11
12
13
14 Slade admitted these violations at his initial appearance (Dkt. 57, CR15-353).
15         Subsequently, the following violation was filed:
16
17
18
19
20
21                                                                                           It is
22 It is anticipated that Slade will admit these violations at sentencing.
23         After his arrest on December 1, 2018, the USPO filed the following violations:
24
25
26
27
28
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 1
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 6
     It is anticipated that Slade will admit these violations at sentencing. The government is
 7
     recommending 24 months incarceration for these violations, to be served concurrently
 8
     with the time imposed on the new case and with no term of supervision to follow under
 9
     this case number.
10
     D.        Government’s proposed sentence: 30 months.
11
               The government respectfully requests that the Court sentence Slade to 30 months
12
     imprisonment to be followed by a period of three years of supervised release. This
13
     sentence is appropriate for the following reasons.
14
               Most basically, it holds Slade accountable for his third conviction for unlawfully
15
     possessing a firearm. It takes into account Slade’s prior state conviction for possessing a
16
     firearm and shooting another person and his prior federal conviction for being a Felon in
17
     Possession of a Firearm.4
18
               Furthermore, Slade is receiving the benefit of the government’s recommendation
19
     that the time imposed on the supervised release violations be run concurrently with the
20
     time imposed under the new cause number. The government’s recommendation at the
21
22
23   4
       In his letter to the Court, dated June 13, 2019, Slade mentions that he has waived his right to
24   appeal. The government notes that this was not a requirement of the plea negotiations and that
     the government was prepared to allow Slade to proceed by way of a conditional plea in order to
25   preserve his right to appeal. Indeed, the plea agreement was originally written as a conditional
     plea when, the day before the plea hearing, Slade requested that a plea agreement with an appeal
26
     waiver in return for the government capping its recommendation at 30 months and an agreed
27   recommending that the supervised release time be imposed concurrently with the new sentence.
28
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 1 high end of the Guidelines takes into account that Slade was on supervised release when
 2 he was again found in possession of a firearm.
 3         Ultimately, the government submits that a 30-month sentence of imprisonment
 4 will appropriately allow Slade an opportunity to receive treatment and services while at
 5 the Bureau of Prisons, will allow the Court a degree of measured control while Slade
 6 reintegrates into the community via a halfway house, and imposes a significant, but not
 7 excessive, sanction for his criminal conduct.
 8                                       VIII. CONCLUSION
 9         For the foregoing reasons, the United States respectfully requests that the Court
10 sentence Slade to 30 months imprisonment under CR18-307 JCC, to be served
11 concurrently to 24 months on multiple violations of supervised release under CR15-353
12 JCC. The government also requests that the Court impose three (3) years of supervised
13 release under CR18-307 JCC and terminate supervision under CR15-353 JCC. The
14 United States also asks the Court to impose the conditions set forth in the Presentence
15 Report submitted by the United States Probation Officer.
16         DATED this 19th day of July, 2019.
17
18                                                 Respectfully submitted,
19
                                                   BRIAN T. MORAN
20                                                 United States Attorney
21
                                                   s/ Stephen Hobbs
22                                                 STEPHEN HOBBS
                                                   Assistant United States Attorney
23
                                                   United States Attorney’s Office
24                                                 700 Stewart, Suite 5220
                                                   Seattle, Washington 98101
25
                                                   Phone: (206) 553-4301
26                                                 E-mail: stephen.p.hobbs@usdoj.gov
27
28
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 1                                    CERTIFICATE OF SERVICE
 2
            I hereby certify that on July 19, 2019, I electronically filed the foregoing with the
 3
     Clerk of the Court using the CM/ECF system which will send notification of such filing
 4
     to the attorney(s) of record for the defendant(s).
 5
 6                                                  s/ Becky Hatch
 7                                                  BECKY HATCH
                                                    Legal Assistant
 8                                                  United States Attorney=s Office
 9                                                  700 Stewart Street, Suite 5220
                                                    Seattle, Washington 98101
10                                                  Phone: (206) 553-4161
11                                                  Fax: (206) 553-0755
                                                    E-mail: becky.hatch@usdoj.gov
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